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Form 271

                                    UNITED STATES BANKRUPTCY COURT
                                                  Middle District of North Carolina
                                                     101 S. Edgeworth Street
                                                      Greensboro, NC 27401

                                                                                               Bankruptcy Case No.: 19−80573
IN THE MATTER OF:
Randolph Whitmeyer Ryan xxx−xx−4077
Katrina Sein Ryan xxx−xx−3840
1609 Claymore Rd
Chapel Hill, NC 27516

   Debtor(s)



                                                    NOTICE OF FILINGS DUE



It appearing that a petition commencing a case under Title 11, United States Code was filed by or against the person named above
on 8/2/19 , and that the following document(s) named below must be filed within thirty (30) days from the date the petition was filed;
or on or before the date of the creditors meeting; whichever is earlier.

Missing Documents(s):
___________________________
Statement of Intent 9/1/19




Date: 8/5/19                                                                                   OFFICE OF THE CLERK/ R
